       Case 1:12-cr-00051-JD   Document 38   Filed 02/11/13   Page 1 of 1




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE


United States of America
                                         Criminal No. 12-cr-51-03-JD
         v.

Curtis Hargrove



                                 O R D E R


      The assented to motion to reschedule jury trial (document no.

37) filed by defendant Hargrove is granted.            As all codefendants

agreed to this motion, the following deadline applies as to all

defendants:    Trial is continued to the two-week period beginning

April 16, 2013, 9:30 AM.

      Defendant Hargrove shall file a waiver of speedy trial rights

within 10 days.     The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

      SO ORDERED.

                                         /s/ Joseph A. DiClerico, Jr.
                                         Joseph A. DiClerico, Jr.
                                         United States District Judge


Date: February 11, 2013

cc:   Counsel of Record
      U.S. Marshal
      U.S. Probation
